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 8
                                 IN THE UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          CASE NO. 2:13-CR-00082-KJM
12                                Plaintiff,            GOVERNMENT’S DISPOSITIONAL
                                                        MEMORANDUM
13                          v.
                                                        DATE: July 19, 2021
14   MATTHEW KEYS,                                      TIME: 9:00 a.m.
                                                        COURT: Hon. Kimberly J. Mueller
15                               Defendant.
16

17          The government concurs with United States Probation that Matthew Keys’s supervised release
18 violation should be resolved with a 12-month custodial sentence to be followed by 12-months of

19 supervised release.

20          In summary, and as the Court directly observed throughout the evidentiary hearing, Keys
21 brazenly repeated acts of digital vandalism and deletion that were the basis for his jury-conviction in

22 2015. Apparently showing no growth since that time, Keys deleted the catalog of YouTube videos in

23 apparent retribution against his former employer, and then took steps to cover his tracks. He then lied to

24 his Probation Officer about his involvement and accused others of being responsible for the deletion.

25 There is little the government could add in argument to what the Court has already seen—Keys seems to

26 be incapable of controlling his anger to those whom he perceives have wronged him.

27          In determining the appropriate disposition, the Court is permitted to apply certain Section
28 3553(a) factors, as further set forth in 18 U.S.C. § 3583(c).

      GOV. DISPO. MEMO                                   1
 1          The government suggests that the (1) nature and circumstances of the deletion offense and the

 2 Keys’s history and characteristics, (2) need for deterrence—especially because Keys was undeterred by

 3 his prior conviction, and (3) need to protect the public from Keys’s further crimes, all favor the sentence

 4 recommended by Probation.

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 6   Dated: July 15, 2021                                    PHILLIP A. TALBERT
                                                             Acting United States Attorney
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 8                                                           /s/ PAUL HEMESATH
                                                             PAUL HEMESATH
 9                                                           Assistant United States Attorney
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      GOV. DISPO. MEMO                                   2
